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2005 MAY 25 AMI]: &2
LORETIA G. WHYTE
CLERK
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

COMMERCIALIZADORA PORTIMEX * CIVIL ACTION
S.A. DE C.V.
* NO.: 02-1185
VERSUS
* SECTION: “R”
ZEN-NOH GRAIN CORPORATION Judge Sarah S. Vance
*
MAG. (1)
Mag. Sally Shushan
* * * * * * * *
MOTION FOR ORAL ARGUMENT
MAY IT PLEASE THE COURT:

If the Court entertains a hearing on the Motion for Preliminary and Permanent
Injunction, Zen-Noh Grain Corporation (“Zen-Noh”) requests that it be granted oral
argument in that there are substantial issues that are involved in this litigation which the

Court may wish counsel to address.

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J G. BURKE, JR T.A. (#3676)

LN. VANCE (#13007)
URKE & MAYER

1100 Poydras Street, Suite 2000

New Orleans, Louisiana 70163-2000

Telephone: (504) 569-2900

Attorneys for Zen-Noh Grain Corporation
(154679)

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been served upon the
following opposing counsel of record in this matter BY HAND this 25" day of May, 2005:

Christopher O. Davis, Esq.
Phelps Dunbar LLP

Canal Place - Suite 2000
365 Canal Street

New Orleans, LA 70130-6534 LZ i QPEL

ASG BURKE, JR.

